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                     EXHIBIT A
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                                            KTBS Law LLP
                                        1801 Century Park East, 26th Floor
                                             Los Angeles, CA 90067
                                                   Telephone:
                                            Facsimile: (310) 407-9090
                                              Taxpayer I.D. No. XX-XXXXXXX



                                                                                         October 2, 2023
Amyris, Inc., et al.                                                                      Bill No. 20852
Attn: M. Freddie Reiss
5885 Hollis Street, Suite 100
Emeryville, CA 94608
For Services Rendered Through 09/30/2023

In Reference To: Amyris, Inc., et al.
File No.:        2483 - 0000

Professional Services
Date           Init       Description                                                           Hours      Amount
       Case Administration
09/21/2023 MLT          Exchange e-mail correspondence with N. Maoz and S.                      0.10    No Charge
                        Kidder re scope of investigation
09/21/2023     NM         Exchange correspondence regarding scope of investigation              0.20      $175.00
09/29/2023     NM         Correspondence re scope of investigation                              0.30    No Charge
09/29/2023     SMK        Exchange emails with M. Tuchin and D. Stern re scope of               0.20      $259.00
                          investigation
       Case Administration                                                                      0.80      $434.00
       Meetings of and Communications with Debtors’ Professionals
09/01/2023 MLT          Analyze correspondence from D. Grassgreen and D. Stern                  0.10    No Charge
                        re timing of investigation
09/01/2023     SMK        Analyze D. Grassgreen email re status and timing of                   0.10      $129.50
                          restructuring and implications for investigation
09/05/2023     DMS        Zoom conference with Fenwick (M. Dicke and F. Lee) and                0.80    $1,516.00
                          PwC (S. Honma and J. Meehan) re revenue recognition
                          investigation
09/05/2023     SMK        Zoom conference with Fenwick (M. Dicke and F. Lee) and                0.80    $1,036.00
                          PwC (S. Honma and J. Meehan) re revenue recognition
                          investigation
09/05/2023     SMK        Exchange emails with D. Choi and K. Novotny re                        0.20      $259.00
                          scheduling of informal interviews
09/05/2023     SMK        Draft agenda for call with K. Novotny                                 0.20      $259.00
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2483     Amyris, Inc., et al.                                                                                    Page 2
0000     Amyris, Inc., et al.                                                                              Bill #. 20852
Date            Init            Description                                                        Hours       Amount
       Meetings of and Communications with Debtors’ Professionals
09/05/2023 SMK          Exchange emails with D. Stern, T. Frei, N. Maoz re                         0.20    No Charge
                        preparation for calls with Novotny and D. Choi
09/05/2023      TF              Zoom conference with Fenwick (M. Dicke and F. Lee) and             0.80       $880.00
                                PwC (S. Honma and J. Meehan) re revenue recognition
                                investigation
09/06/2023      NM              Draft memo to F. Reiss re interview of K. Novotny                  0.40       $350.00
09/06/2023      SMK             Email M. Dicke re follow-up questions re investigation             0.10       $129.50
09/07/2023      DMS             Call with Fenwick re accounting irregularity investigation         0.30       $568.50
09/07/2023      DMS             Review and revise memo to F. Reiss re Choi interview               0.40       $758.00
09/07/2023      NM              Videoconference with Fenwick team re accounting                    0.30       $262.50
                                irregularity investigation
09/07/2023      SMK             Call with M. Dicke, F. Lee, D. Stern, N. Maoz, T. Frei re          0.30       $388.50
                                accounting irregularity investigation
09/07/2023      TF              Zoom meeting with D. Choi, D. Stern, S. Kidder and N.              1.40    $1,540.00
                                Maoz re investigation
09/07/2023      TF              Zoom meeting with Fenwick team re revenue recognition              0.30       $330.00
                                investigation
09/11/2023      TF              Email correspondence re board financial information                0.50       $550.00
                                materials
09/12/2023      SMK             Exchange emails with A. Kornfeld, D. Stern, M. Tuchin,             0.20       $259.00
                                and N. Maoz re outreach from Committee
09/12/2023      SMK             Email M. Dorf of Shearman Sterling re investigation                0.10       $129.50
09/13/2023      DMS             Videoconference with A. Kornfeld re investigation issues           0.20       $379.00
09/13/2023      DMS             Videoconference with M. Tuchin, N. Maoz, S. Kidder re              0.30       $568.50
                                investigation issues
09/13/2023      MLT             Telephone conference with R. Pachulski re interviews,              0.30       $568.50
                                depositions and privilege
09/13/2023      MLT             Videoconference with A. Kornfeld re investigation issues           0.20       $379.00
09/13/2023      MLT             Videoconference with D. Stern, S. Kidder, and N. Maoz re           0.30       $568.50
                                investigation issues
09/13/2023      NM              Videoconference with S. Fleming and S. Kidder re                   0.50       $437.50
                                investigation issues
09/13/2023      NM              Videoconference with A. Kornfeld re investigation issues           0.20       $175.00
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2483     Amyris, Inc., et al.                                                                                     Page 3
0000     Amyris, Inc., et al.                                                                               Bill #. 20852
Date            Init            Description                                                         Hours       Amount
       Meetings of and Communications with Debtors’ Professionals
09/13/2023 NM           Videoconference with M. Tuchin, D. Stern, and S. Kidder re                  0.30       $262.50
                        investigation issues
09/13/2023      SMK             Videoconference with A. Kornfeld re investigation issues            0.20       $259.00
09/13/2023      SMK             Videoconference with M. Tuchin, D. Stern, N. Maoz re                0.30       $388.50
                                investigation issues
09/13/2023      SMK             Email S. Fleming re investigation                                   0.10       $129.50
09/13/2023      SMK             Exchange emails with M. Dorf of Shearman Sterling re                0.10       $129.50
                                investigation
09/13/2023      SMK             Videoconference with S. Fleming and N. Maoz re                      0.50       $647.50
                                investigation issues
09/14/2023      NM              Videoconference with S. Kidder and M. Dorf re                       0.50       $437.50
                                investigation and specific transactions
09/14/2023      SMK             Call with M. Dorf and N. Maoz re investigation issues               0.50       $647.50
09/15/2023      MLT             Confer with R. Pachulski re investigation                           0.60    $1,137.00
09/15/2023      SMK             Exchange emails with A. Kornfeld, D. Grassgreen re former           0.20       $259.00
                                officer interviews
09/18/2023      SMK             Exchange emails with R. Pachulski re investigation                  0.10       $129.50
09/18/2023      SMK             Exchange emails with M. Dorf re transaction documents in            0.20       $259.00
                                connection with investigation
09/22/2023      MLT             Analyze correspondence re scope of investigation from S.            0.10    No Charge
                                Kidder to R. Pachulski
09/22/2023      SMK             Draft detailed email to R. Pachulski re scope of                    0.30    No Charge
                                investigation
09/26/2023      SMK             Exchange emails with R. Pachulski and D. Grassgreen re              0.10       $129.50
                                investigation
09/27/2023      DMS             Call with R. Pachulski, D. Grassgreen and S. Golden re              0.70    $1,326.50
                                investigation status
09/27/2023      MLT             Prepare for videoconference with Pachulski Stang re                 0.20       $379.00
                                investigation
09/27/2023      MLT             Videoconference with Pachulski Stang re investigation               0.50       $947.50
                                (partial attendance)
09/27/2023      NM              Videoconference with PSZJ team re investigation status              0.70       $612.50
09/27/2023      SMK             Call with R. Pachulski, D. Grassgreen, and S. Golden re             0.70       $906.50
                                investigation status
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2483     Amyris, Inc., et al.                                                                                    Page 4
0000     Amyris, Inc., et al.                                                                              Bill #. 20852
       Meetings of and Communications with Debtors’ Professionals                               16.40      $21,408.50
       Meetings of and Communications with Independent Director
09/01/2023 DMS          Zoom call with F. Reiss re update on investigation                          0.80    $1,516.00
09/01/2023      MLT             Videoconference with F. Reiss, D. Stern, T. Frei, and N.            0.80    $1,516.00
                                Maoz re investigation update
09/01/2023      NM              Prepare for meeting with F. Reiss                                   0.20      $175.00
09/01/2023      NM              Videoconference with F. Reiss, D. Stern, T. Frei, and M.            0.80      $700.00
                                Tuchin re investigation update
09/01/2023      TF              Video conference with F. Reiss, D. Stern, M. Tuchin and N.          0.80      $880.00
                                Maoz re investigation update
09/05/2023      NM              Draft memo to F. Reiss re conference with Fenwick and               0.40      $350.00
                                PwC teams re accounting investigation
09/05/2023      SMK             Analyze and comment on draft memorandum to F. Reiss re              0.20      $259.00
                                call with Fenwick and PwC
09/06/2023      DMS             Revise memo to F. Reiss re Fenwick meeting                          0.40      $758.00
09/06/2023      DMS             Review and revise agenda for call with F. Reiss                     0.20      $379.00
09/06/2023      DMS             Review materials in preparation for Zoom meeting with F.            0.40      $758.00
                                Reiss
09/06/2023      MLT             Analyze interview memos to F. Reiss (Novotny, Fenwich               0.50      $947.50
                                and PwC) and prepare notes re same
09/06/2023      MLT             Analyze agenda for meeting with F. Reiss                            0.10      $189.50
09/06/2023      SMK             Analyze and revise memo to F. Reiss re call with Fenwick            0.40      $518.00
                                and PwC
09/06/2023      SMK             Draft agenda for 9/7 call with F. Reiss                             0.20      $259.00
09/06/2023      TF              Review and revise memo to F. Reiss re Fenwick and PwC               0.50      $550.00
                                call
09/06/2023      TF              Review and revise memo to F. Reiss re K. Novotny                    0.50      $550.00
                                interview
09/07/2023      DMS             Zoom meeting with F. Reiss, M. Tuchin, T. Frei, and N.              0.80    $1,516.00
                                Maoz re investigation update
09/07/2023      MLT             Analyze memo to F. Reiss re interview of Doris Choi and             0.30      $568.50
                                prepare notes re same
09/07/2023      MLT             Videoconference with F. Reiss, D. Stern, T. Frei and N.             0.80    $1,516.00
                                Maoz re investigation update
09/07/2023      NM              Videoconference with M. Tuchin, D. Stern, T. Frei, and F.           0.80      $700.00
                                Reiss re investigation update
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2483    Amyris, Inc., et al.                                                                                     Page 5
0000    Amyris, Inc., et al.                                                                               Bill #. 20852
Date           Init            Description                                                         Hours       Amount
       Meetings of and Communications with Independent Director
09/07/2023 NM           Draft memorandum to F. Reiss re D. Choi interview                          0.70       $612.50
09/07/2023     SMK             Email F. Reiss re update on hearing and other matters               0.10       $129.50
                               relevant to investigation
09/07/2023     SMK             Analyze and revise draft memo to F. Reiss re interview with         0.30       $388.50
                               D. Choi
09/07/2023     TF              Zoom meeting with F. Reiss, D. Stern, M. Tuchin and N.              0.80       $880.00
                               Maoz providing update on investigation
09/07/2023     TF              Revise draft memo re D. Choi Zoom meeting                           0.70    No Charge
09/11/2023     SMK             Draft email update to F. Reiss re investigation status              0.20       $259.00
09/13/2023     MLT             Revise agenda for meeting with F. Reiss                             0.10    No Charge
09/13/2023     MLT             Prepare for meeting with F. Reiss                                   0.10    No Charge
09/13/2023     NM              Review and revise agenda; correspondence re same                    0.20       $175.00
09/13/2023     SMK             Draft agenda for 9/14 update call with F. Reiss                     0.30       $388.50
09/13/2023     TF              Review draft agenda for F. Reiss conference call                    0.20    No Charge
09/14/2023     DMS             Zoom meeting with F. Reiss re investigation progress and            0.40       $758.00
                               issues
09/14/2023     MLT             Meeting with F. Reiss re investigation progress and issues          0.40       $758.00
09/14/2023     NM              Videoconference with F. Reiss re investigation progress and         0.40       $350.00
                               issues
09/14/2023     SMK             Teleconference with F. Reiss re investigation update and            0.40       $518.00
                               issues
09/14/2023     TF              Zoom meeting with F. Reiss re investigation progress and            0.40       $440.00
                               issues
09/18/2023     NM              Draft memorandum to F. Reiss re F. Kung interview                   0.60       $525.00
09/19/2023     NM              Draft memo to F. Reiss regarding Rytokoski interview                1.40    $1,225.00
09/19/2023     TF              Review memo to F. Reiss re interview of F. Kung                     0.30       $330.00
09/20/2023     NM              Revise memo to F. Reiss re Rytokoski interview                      0.20       $175.00
09/20/2023     NM              Draft memo to F. Reiss re interview of N. Pollack                   0.60       $525.00
09/20/2023     SMK             Analyze and revise memo to F. Reiss re Rytokoski                    0.60       $777.00
                               interview
09/20/2023     SMK             Exchange emails with F. Reiss and M. Tuchin re weekly               0.20       $259.00
                               update call
09/20/2023     TF              Review memo to F. Reiss re interview of M. Rytokoski                0.30       $330.00
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2483    Amyris, Inc., et al.                                                                                     Page 6
0000    Amyris, Inc., et al.                                                                               Bill #. 20852
Date           Init            Description                                                         Hours       Amount
       Meetings of and Communications with Independent Director
09/21/2023 NM           Revise memos to F. Reiss re interview summaries                            0.60       $525.00
09/21/2023     NM              Draft memo to F. Reiss re interview of C. Johnson                   0.40       $350.00
09/21/2023     SMG             Analysis of memos to F. Reiss re C. Johnson, A. Dutra, and          0.50       $550.00
                               N. Pollack interviews
09/21/2023     SMK             Prepare memorandum to F. Reiss re Dutra interview                   0.60       $777.00
09/21/2023     SMK             Analyze and revise memos to F. Reiss re Pollack and                 0.70       $906.50
                               Johnson interviews
09/22/2023     MLT             Analyze memos to F. Reiss summarizing interviews with               0.80    $1,516.00
                               Geoffrey Duyk, Niel Pollack, Corbin Johnson, and Ana
                               Dutra and prepare notes re same
09/22/2023     NM              Draft memo to F. Reiss re G. Duyk interview                         1.60    $1,400.00
09/22/2023     SMK             Analyze and revise memorandum to F. Reiss re Duyk                   0.40       $518.00
                               interview
09/22/2023     TF              Review memos to F. Reiss re interviews of C. Johnson, N.            0.40       $440.00
                               Pollack and A. Dutra
09/23/2023     NM              Draft memo to F. Reiss re J. Washington interview                   0.60       $525.00
09/23/2023     SMK             Analyze and revise draft memo to F. Reiss re J. Washington          0.30       $388.50
                               interview
09/25/2023     SMK             Draft agenda for weekly update call with F. Reiss and               0.30       $388.50
                               exchange emails with M. Tuchin, D. Stern, N. Maoz re
                               same
09/25/2023     TF              Review memo to F. Reiss re interview of J. Washington               0.20    No Charge
09/26/2023     DMS             Videoconference with F. Reiss, M. Tuchin, S. Kidder, and            0.80    $1,516.00
                               N. Maoz to update him on investigation
09/26/2023     MLT             Meeting with F. Reiss re update on investigation (partial)          0.30       $568.50
09/26/2023     NM              Revise agenda for update call; correspondence re same               0.10    No Charge
09/26/2023     NM              Update call with F. Reiss, D. Stern, and S. Kidder                  0.80       $700.00
09/26/2023     NM              Draft memo to F. Reiss re S. Mills interview                        0.90       $787.50
09/26/2023     SMK             Videoconference with F. Reiss, M. Tuchin, D. Stern, and N.          0.80    $1,036.00
                               Maoz re investigation update
09/26/2023     SMK             Analyze and revise draft memo to F. Reiss re Mills                  0.80    $1,036.00
                               interview
09/27/2023     NM              Draft memo to F. Reiss re E. Alvarez interview                      0.80       $700.00
09/27/2023     NM              Draft memo to F. Reiss of C. Ofori interview                        1.40    $1,225.00
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2483     Amyris, Inc., et al.                                                                                      Page 7
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                          Hours       Amount
       Meetings of and Communications with Independent Director
09/27/2023 NM           Revise memo to F. Reiss re L. Qi interview                                   0.20       $175.00
09/27/2023      SMK             Draft memorandum to F. Reiss re summary or L. Qi                     0.90     $1,165.50
                                interview
09/27/2023      TF              Review memo to F. Reiss re S. Mills interview                        0.30    No Charge
09/28/2023      NM              Revise memos to F. Reiss re interviews                               1.30     $1,137.50
09/28/2023      NM              Confer with F. Reiss re investigation                                0.10        $87.50
09/28/2023      SMG             Review memos to F. Reiss re C. Ofori, L. Qi, and E.                  0.60       $660.00
                                Alvarez interviews
09/28/2023      SMK             Analyze and revise memos to F. Reiss re Ofori and Alvarez            0.90     $1,165.50
                                interviews
09/28/2023      TF              Review interview memos to F. Reiss re C. Ofori, L. Qi and            0.50    No Charge
                                E. Alvarez
09/29/2023      MLT             Confer with F. Reiss re investigation issues                         0.80     $1,516.00
       Meetings of and Communications with Independent Director                                  39.50       $46,169.00
       Meetings of and Communications with Other Professionals
09/12/2023 DMS          Review email from A. O'Neill (White & Case) re meeting;                      0.20       $379.00
                        confer with team re same
09/12/2023      DMS             Review with team issues likely to arise in call with White &         0.20       $379.00
                                Case
09/12/2023      SMK             Exchange emails with A. O'Neill re meeting to discuss                0.20       $259.00
                                status and next steps
09/13/2023      MLT             Analyze correspondence re S. Hershey and S. Kidder re                0.10    No Charge
                                deposition
09/14/2023      DMS             Videoconference via Zoom with M. Tuchin, S. Kidder, N.               0.30       $568.50
                                Maoz, S. Hershey (White & Case), S. Gorman (White &
                                Case), and A. Kropp (White & Case) re investigation status
09/14/2023      MLT             Videoconference with White & Case re investigation (S.               0.30       $568.50
                                Hershey, S. Gorman, A. Kropp, D. Stern, S. Kidder, and N.
                                Maoz)
09/14/2023      NM              Videoconference with M. Tuchin, D. Stern, S. Kidder, N.              0.30       $262.50
                                Maoz, S. Hershey, S. Gorman, and A. Kropp re
                                investigation status
09/14/2023      SMK             Videoconference with M. Tuchin, D. Stern, N. Maoz, S.                0.30       $388.50
                                Hershey, S. Gorman, and A. Kropp re investigation status
09/15/2023      MLT             Confer with F. Reiss re investigation                                0.30       $568.50
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2483    Amyris, Inc., et al.                                                                                     Page 8
0000    Amyris, Inc., et al.                                                                               Bill #. 20852
Date           Init            Description                                                         Hours       Amount
       Meetings of and Communications with Other Professionals
09/18/2023 SMK          Analyze email from F. Merola re Rytokoski interview                        0.10       $129.50
09/22/2023     MLT             Analyze correspondence from S. Tan and S. Kidder re                 0.10    No Charge
                               witness interview
09/27/2023     NM              Send correspondence to Lavvan re Doerr deposition                   0.10    No Charge
       Meetings of and Communications with Other Professionals                                     2.50    $3,503.00
       Document Discovery and Document Review
09/01/2023 DMS         Review and approve supplemental document request to                         0.30       $568.50
                       Debtors
09/01/2023     DMS             Review new 8-K                                                      0.20       $379.00
09/01/2023     DMS             Review response from in house counsel re information                0.30       $568.50
                               requests and issues related to production
09/01/2023     MLT             Analyze document request list                                       0.20       $379.00
09/01/2023     SMK             Analyze company's responses and production re                       0.70       $906.50
                               supplemental document requests and email D. Stern re same
09/01/2023     TF              Review derivative action order                                      1.30    No Charge
09/05/2023     NM              Review supplemental document production;                            3.30    $2,887.50
                               correspondence re same
09/05/2023     SMK             Analyze N. Maoz email re summary of documents added to              0.20       $259.00
                               data room
09/06/2023     DMS             Review follow up list for documents to be requested and             0.30       $568.50
                               modify same
09/06/2023     SMK             Draft response to company re follow-up on supplemental              0.40       $518.00
                               document requests and exchange emails with D. Stern re
                               same
09/06/2023     SMK             Exchange emails with D. Stern, T. Frei, N. Maoz re                  0.10       $129.50
                               potentially problematic transaction to investigate
09/06/2023     SMK             Analyze indemnification agreements                                  0.50       $647.50
09/07/2023     DMS             Review Alvarez letter                                               0.10       $189.50
09/07/2023     NM              Analyze supplemental document production                            1.60    $1,400.00
09/07/2023     SMK             Exchange emails with D. Choi and S. Tan re follow-up                0.30       $388.50
                               document requests and related issues
09/07/2023     SMK             Analyze documents pertinent to investigation, including             1.90    $2,460.50
                               accounting-related documents
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2483    Amyris, Inc., et al.                                                                                   Page 9
0000    Amyris, Inc., et al.                                                                             Bill #. 20852
Date           Init            Description                                                    Hours          Amount
       Document Discovery and Document Review
09/07/2023 TF          Review indemnification provisions; email correspondence                    1.50   $1,650.00
                       re the same
09/08/2023     NM              Review supplemental document production; revise                    2.20   $1,925.00
                               summary of key transactions re same
09/08/2023     SMK             Analyze documents in data room, including recent                   5.50   $7,122.50
                               supplemental production
09/09/2023     SMK             Continue review of documents provided by Company,                  2.60   $3,367.00
                               including email exchange with D. Choi re same
09/10/2023     SMK             Analyze and compile documents pertinent to director                2.20   $2,849.00
                               interviews
09/12/2023     SMK             Analyze documents in connection with preparation of                1.20   $1,554.00
                               interview outlines
09/13/2023     NM              Analyzed document production and public filings                    2.00   $1,750.00
09/13/2023     SMK             Email A. Kornfeld re follow-up question concerning                 0.10      $129.50
                               Amyris document production
09/14/2023     MLT             Analyze documents re Givudan transaction                           2.40   $4,548.00
09/14/2023     MLT             Analyze D&O coverage                                               0.40      $758.00
09/14/2023     SMK             Analyze Amyris press releases pertinent to investigation           0.30      $388.50
09/14/2023     SMK             Analyze transaction documents pertinent to investigation           0.80   $1,036.00
09/15/2023     MLT             Continue review of Givaudan transaction documents                  1.40   $2,653.00
09/15/2023     NM              Analysis of board and transaction documents                        3.20   $2,800.00
09/15/2023     RJS             Analyze Givaudan APA and license agreement                         1.40   No Charge
09/15/2023     SMK             Further analysis of transaction documents as follow-up to          1.50   $1,942.50
                               call with M. Dorf
09/15/2023     SMK             Exchange emails with D. Choi and S. Tan re supplemental            0.20      $259.00
                               document production
09/16/2023     SMK             Analyze documents in connection with audit Committee               1.60   $2,072.00
                               interview preparation
09/17/2023     RJS             Analyze Givaudan APA and License Agreement                         0.70   No Charge
09/18/2023     NM              Confer with R. Smith and S. Kidder re Givaudan                     0.10       $87.50
                               transaction documents
09/18/2023     RJS             Analyze Givaudan APA and License Agreement                         0.20   No Charge
09/18/2023     RJS             Confer with S. Kidder and N. Maoz re Givaudan transaction          0.10   No Charge
                               documents
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2483    Amyris, Inc., et al.                                                                                    Page 10
0000    Amyris, Inc., et al.                                                                               Bill #. 20852
Date           Init            Description                                                      Hours          Amount
       Document Discovery and Document Review
09/18/2023 SMK         Analyze transaction documents in connection with                             1.50   $1,942.50
                       investigation
09/18/2023     SMK             Confer with R. Smith and N. Maoz re Givaudan transaction             0.10      $129.50
                               documents
09/19/2023     NM              Review and analysis transaction specific public filings and          1.60   $1,400.00
                               press releases
09/19/2023     NM              Review documents and correspondence re Givaudan                      0.80      $700.00
                               transaction negotiation
09/19/2023     RJS             Analyze emails and draft versions of documents related to            0.30   No Charge
                               the Givaudan APA and License Agreement
09/19/2023     SMK             Analyze documents from M. Dorf                                       0.60      $777.00
09/20/2023     SMK             Prepare supplemental document request for debtors as                 0.50      $647.50
                               follow-up to Pollack interview
09/21/2023     NM              Analyze supplemental document production                             0.80      $700.00
09/21/2023     NM              Exchange correspondence with S. Tan re supplemental                  0.20      $175.00
                               document requests
09/21/2023     SMK             Analyze supplemental document production from S. Tan                 0.30      $388.50
09/21/2023     SMK             Exchange emails with S. Tan and N. Maoz re supplemental              0.20      $259.00
                               document requests
09/25/2023     SMK             Analyze board-related documents in connection with                   3.20   $4,144.00
                               investigation
09/25/2023     SMK             Exchange emails with D. Choi and S. Tan re supplemental              0.10      $129.50
                               document production
09/26/2023     MLT             Analyze key board and audit committee minutes and notes              1.60   $3,032.00
09/26/2023     MLT             Analyze Audit Committee Charter                                      0.30      $568.50
09/26/2023     NM              Confer with T. Frei and S. Kidder re additional diligence            0.20      $175.00
09/26/2023     NM              Analysis of meeting minute notes and other board                     1.00      $875.00
                               documents
09/26/2023     SMK             Further review of documents in preparation for Alvarez               0.60      $777.00
                               interview
09/26/2023     TF              Review board materials related to interested party                   0.20      $220.00
                               transactions
09/27/2023     SMK             Analyze supplemental document production from Debtors                1.30   $1,683.50
09/27/2023     TF              Review related parties transaction policy                            2.20   $2,420.00
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2483    Amyris, Inc., et al.                                                                                   Page 11
0000    Amyris, Inc., et al.                                                                              Bill #. 20852
Date           Init            Description                                                     Hours          Amount
       Document Discovery and Document Review
09/28/2023 MLT         Analyze key investigation documents                                         3.30   $6,253.50
09/28/2023     NM              Analysis of documents and correspondence from document              3.80   $3,325.00
                               productions
09/28/2023     SMK             Extensive email exchange with D. Choi and S. Tan re                 0.40      $518.00
                               supplemental document requests
09/28/2023     SMK             Analyze supplemental document production                            2.50   $3,237.50
09/28/2023     TF              Review audit Committee minutes related to interested party          1.90   $2,090.00
                               transactions
09/29/2023     DMS             Review email from S. Kidder re due diligence in Givaudan            0.40      $758.00
                               transaction (including review of email exchange between J.
                               Melo and J. Doerr with backup)
09/29/2023     MLT             Analyze memo re Givaudan transaction analysis                       0.10      $189.50
09/29/2023     MLT             Analyze company materials re Givaudan transaction                   1.20   $2,274.00
09/29/2023     SMK             Detailed email to M. Tuchin and D. Stern re findings from           0.50      $647.50
                               review of supplemental documents
09/29/2023     SMK             Continue review of supplemental document productions                2.30   $2,978.50
09/29/2023     TF              Complete review of audit Committee minutes related to               2.20   $2,420.00
                               interested party transactions
09/30/2023     DMS             Review N. Kelsey notes of February 22, 2022 audit                   0.40      $758.00
                               committee meeting
09/30/2023     DMS             Review N. Kelsey notes of July 15, 2022 board meeting               0.50      $947.50
09/30/2023     NM              Analysis re officer compensation awards; correspondence             3.40   $2,975.00
                               and summaries re same
09/30/2023     SMK             Analyze and respond to N. Maoz's email memo re                      0.30      $388.50
                               documents concerning executive compensation
       Document Discovery and Document Review                                                  84.10 $100,045.50
       Interviews and Depositions
09/05/2023 DMS          Modify agenda for call with K. Novotny                                     0.10   No Charge
09/06/2023     DMS             Exchange emails with F. Reiss re Lavvan litigation and K.           0.30      $568.50
                               Novotny interview
09/06/2023     DMS             Zoom call with K. Novotny re Givuadan, Apprinova,                   1.20   $2,274.00
                               Ingredion, Lavvan
09/06/2023     DMS             Review and revise outline for Zoom meeting with D. Choi             0.20      $379.00
09/06/2023     DMS             Review and revise memo re Zoom interview of K. Novotny              0.30      $568.50
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2483    Amyris, Inc., et al.                                                                                   Page 12
0000    Amyris, Inc., et al.                                                                              Bill #. 20852
Date           Init            Description                                                     Hours          Amount
       Interviews and Depositions
09/06/2023 NM           Interview of K. Novotny                                                    1.20   $1,050.00
09/06/2023     NM              Prepare for interview of K. Novotny                                 0.40      $350.00
09/06/2023     SMK             Call with D. Stern, T. Frei, N. Maoz and K. Novotny re              1.20   $1,554.00
                               pertinent transactions
09/06/2023     SMK             Draft outline for 9/7 call with D. Choi                             0.30      $388.50
09/06/2023     TF              Videoconference with K. Novotny, D. Stern, S. Kidder and            1.20   $1,320.00
                               N. Maoz re transactions pertinent to investigation
09/07/2023     DMS             Confer with M. Tuchin re witness interviews                         0.20   No Charge
09/07/2023     DMS             Revise D. Choi interview outline                                    0.20      $379.00
09/07/2023     DMS             Zoom interview with D. Choi concerning investigation of             1.40   $2,653.00
                               officers and directors
09/07/2023     DMS             Review email from D. Choi with information on key ex-               0.20      $379.00
                               employees and respond
09/07/2023     DMS             Internal conference with M. Tuchin, S. Kidder, T. Frei, and         0.50      $947.50
                               N. Maoz re coordination of investigation and interviews
09/07/2023     DMS             Review and revise (template) letter to J. Melo re deposition        0.30      $568.50
09/07/2023     MLT             Analyze correspondence from F. Reiss and D. Stern re                0.10   No Charge
                               board interviews
09/07/2023     MLT             Analyze draft correspondence to J. Melo re deposition;              0.10   No Charge
                               analyze correspondence from S. Kidder and F. Reiss re
                               same
09/07/2023     MLT             Telephone conference with D. Stern re witness interviews            0.20   No Charge
09/07/2023     MLT             Internal conference with D. Stern, S. Kidder, T. Frei, and N.       0.50      $947.50
                               Maoz organizing investigation and interviews
09/07/2023     NM              Interview of D. Choi                                                1.30   $1,137.50
09/07/2023     NM              Internal conference with M. Tuchin, D. Stern, S. Kidder, T.         0.50      $437.50
                               Frei organizing investigation and interviews
09/07/2023     NM              Review and revise letter to Melo re deposition                      0.10       $87.50
09/07/2023     SMK             Call with D. Choi re investigation                                  1.40   $1,813.00
09/07/2023     SMK             Teleconference with M. Tuchin, D. Stern, T. Frei and N.             0.50      $647.50
                               Maoz re interview strategy and issues
09/07/2023     SMK             Draft template letter to former D&Os re deposition request          0.40      $518.00
09/07/2023     SMK             Exchange emails with F. Reiss re depositions and                    0.20      $259.00
                               interviews
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2483     Amyris, Inc., et al.                                                                                  Page 13
0000     Amyris, Inc., et al.                                                                             Bill #. 20852
Date            Init            Description                                                    Hours          Amount
       Interviews and Depositions
09/07/2023 TF           Internal conference with D. Stern, M. Tuchin, S. Kidder and                0.50      $550.00
                        N. Maoz organizing investigation and interviews
09/08/2023      ATS             Exchange emails with S. Kidder re Rule 2004 motion                 0.20      $265.00
09/08/2023      ATS             Conference with S. Kidder re Rule 2004 motion                      0.20   No Charge
09/08/2023      ATS             Review S. Kidder correspondence re deposition requests             0.20      $265.00
09/08/2023      MLT             Analyze correspondence from S. Kidder and J. Klein re              0.10   No Charge
                                examinations under oath
09/08/2023      NM              Review correspondence from J. Klein re interview                   0.10       $87.50
09/08/2023      NM              Analyze proposed interview list; correspondence to S.              0.20      $175.00
                                Kidder re same
09/08/2023      SMK             Finalize and send letters to former Ds&Os re deposition            0.40      $518.00
                                scheduling
09/08/2023      SMK             Draft list of interviewees and proposed schedule                   0.50      $647.50
09/08/2023      SMK             Prepare Rule 2004 motion re depositions of former Ds&Os            0.40      $518.00
09/08/2023      SMK             Prepare deposition/interview outlines                              1.30   $1,683.50
09/09/2023      SMK             Prepare director interview outlines                                2.20   $2,849.00
09/10/2023      SMK             Prepare outline for director interviews                            2.50   $3,237.50
09/11/2023      ATS             Teleconference with S. Kidder re meet and confer                   0.10   No Charge
                                requirement for scheduling deposition
09/11/2023      ATS             Research in connection with Rule 2004 motion                       1.30   $1,722.50
09/11/2023      MLT             Analyze correspondence from N. Kelsey, S. Kidder, and D.           0.10   No Charge
                                Stern re scheduling of deposition
09/11/2023      MLT             Analyze correspondence from S. Kidder and D. Choi re               0.10   No Charge
                                interviews of directors, officers, and employees
09/11/2023      NM              Draft interview outline; analysis of documents re same             6.80   $5,950.00
09/11/2023      SMK             Extensive email correspondence with directors, company             3.50   $4,532.50
                                in-house counsel, third-party counsel, and N. Maoz
                                regarding scheduling of and topics for depositions
09/11/2023      SMK             Analyze and revise interviewee/deponent list                       0.40      $518.00
09/11/2023      SMK             Prepare for interviews/depositions, including drafting             3.90   $5,050.50
                                outline re same
09/12/2023      ATS             Exchange emails with S. Kidder re 2004 motion                      0.20      $265.00
09/12/2023      ATS             Exchange emails with J. O'Neill re 2004 motion                     0.10      $132.50
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2483    Amyris, Inc., et al.                                                                                    Page 14
0000    Amyris, Inc., et al.                                                                               Bill #. 20852
Date           Init            Description                                                      Hours          Amount
       Interviews and Depositions
09/12/2023 ATS          Review 2004 motion exemplars                                                0.90   $1,192.50
09/12/2023     ATS             Review local rules and procedures re 2004 motions                    0.50      $662.50
09/12/2023     ATS             Prepare Rule 2004 motion                                             0.80   $1,060.00
09/12/2023     DMS             Review emails with White & Case and witnesses re                     0.20      $379.00
                               depositions
09/12/2023     DMS             Discuss attorney client issues and ways to deal with them in         0.40      $758.00
                               connection with depositions
09/12/2023     MLT             Analyze correspondence re M. Rytokoski, J. Klein, S.                 0.10      $189.50
                               Hershey, F. Merola, S. Kidder, and D. Stern re depositions
09/12/2023     MLT             Analyze correspondence re common interest privilege from             0.10      $189.50
                               D. Stern and N. Maoz
09/12/2023     MLT             Analyze correspondence from A. O'Neill re investigation;             0.10      $189.50
                               exchange e-mail correspondence with D. Stern re same
09/12/2023     MLT             Analyze notice of examination of M. Rytokoski and 2004               0.10   No Charge
                               subpoena
09/12/2023     MLT             Analyze correspondence from S. Tan and S. Kidder re                  0.10   No Charge
                               investigation
09/12/2023     MLT             Analyze privilege issues                                             0.50      $947.50
09/12/2023     NM              Draft notice of deposition and subpoena for M. Rytokoski;            0.70      $612.50
                               correspondence re same
09/12/2023     NM              Revise director interview outline                                    2.60   $2,275.00
09/12/2023     NM              Draft deposition outline for M. Rytokoski                            1.00      $875.00
09/12/2023     NM              Research re privilege issues                                         0.50      $437.50
09/12/2023     NM              Review and exchange correspondence re interview logistics            0.30      $262.50
09/12/2023     SMK             Exchange emails with M. Rytokoski and J. Klein re                    0.30      $388.50
                               Rytokoski deposition
09/12/2023     SMK             Analyze and revise notice of examination and subpoena re             0.40      $518.00
                               Rytokoski deposition
09/12/2023     SMK             Extensive email correspondence with current directors re:            0.50      $647.50
                               interviews
09/12/2023     SMK             Exchange emails with A. Simonds and J. O'Neill re 2004               0.20   No Charge
                               motion in connection with former D&O depositions
09/12/2023     SMK             Brief research re 2004 motions in connection with former             0.40      $518.00
                               D&O depositions
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2483     Amyris, Inc., et al.                                                                                   Page 15
0000     Amyris, Inc., et al.                                                                              Bill #. 20852
Date            Init            Description                                                     Hours          Amount
       Interviews and Depositions
09/12/2023 SMK          Draft interview outlines                                                    3.10   $4,014.50
09/12/2023      SMK             Exchange emails with J. Fisher of Goodwin Procter re                0.10      $129.50
                                director interviews
09/12/2023      TF              Review interview template                                           0.60      $660.00
09/13/2023      ATS             Voicemail and email to J. O'Neill re 2004 motion and                0.20      $265.00
                                schedule
09/13/2023      ATS             Prepare Rule 2004 motion                                            1.00   $1,325.00
09/13/2023      ATS             Teleconference with J. O'Neill re 2004 motion and schedule          0.20      $265.00
09/13/2023      ATS             Conference with S. Kidder re 2004 motion                            0.30   No Charge
09/13/2023      DMS             Prepare outline of issues relating to depositions and               0.30      $568.50
                                privilege problems
09/13/2023      DMS             Review correspondence with N. Kelsey and edit response to           0.30      $568.50
                                her
09/13/2023      MLT             Analyze correspondence from witnesses, D. Stern, and S.             0.20   No Charge
                                Kidder re interviews
09/13/2023      SMK             Call with J. Fisher of Goodwin Procter re Doerr interview           0.40      $518.00
09/13/2023      SMK             Analyze issues re potential 2004 motion to compel former            0.50      $647.50
                                officer depositions
09/13/2023      SMK             Email correspondence with former officers re                        0.40      $518.00
                                interviews/depositions
09/13/2023      SMK             Follow up emails and call to J. Melo re interview                   0.20      $259.00
                                scheduling
09/13/2023      SMK             Call with D, Choi re director interview procedure                   0.10      $129.50
09/13/2023      SMK             Further email exchange with M. Rytokoski re interview               0.20      $259.00
                                logistics and schedule
09/13/2023      SMK             Assemble list of documents to provide to A. Dutra in                0.40      $518.00
                                advance of interview
09/13/2023      SMK             Prepare outline for interviews of Audit Committee members           0.80   $1,036.00
09/13/2023      SMK             Prepare interview and deposition outlines, including                2.50   $3,237.50
                                compilation of potential exhibits re same
09/13/2023      SMK             Exchange emails with A. Simonds and J. O'Neill re 2004              0.10      $129.50
                                motion to compel depositions
09/14/2023      ATS             Draft Rule 2004 motion, proposed order, certification, and          4.50   $5,962.50
                                notice
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2483     Amyris, Inc., et al.                                                                                     Page 16
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                       Hours          Amount
       Interviews and Depositions
09/14/2023 MLT          Analyze correspondence re interview scheduling from S.                        0.10      $189.50
                        Kidder and witnesses
09/14/2023      NM              Draft D. Rytokoski interview outline                                  1.00      $875.00
09/14/2023      SMK             Coordinate (via email) with directors and former officers re          0.50      $647.50
                                interviews and materials regarding same
09/14/2023      SMK             Draft email to J. Melo re investigation and interview                 0.20      $259.00
09/14/2023      SMK             Prepare for interviews, including drafting outlines and               5.50   $7,122.50
                                compiling exhibits re same
09/14/2023      SMK             Analyze revised draft 2004 motion to compel former officer            0.40      $518.00
                                depositions
09/15/2023      ATS             Draft motion to shorten time and related documents in                 2.10   $2,782.50
                                connection with 2004 motion
09/15/2023      MLT             Analyze correspondence from witnesses and S. Kidder re                0.10      $189.50
                                interviews; exchange e-mail correspondence with D. Stern
                                re same
09/15/2023      NM              Draft C. Johnson interview outline                                    0.40      $350.00
09/15/2023      SMG             Analysis of memos re S. Fleming, D. Choi, K. Novotny,                 0.80      $880.00
                                and Fenwick & West communications/interviews
09/15/2023      SMK             Exchange emails with former officer re interview                      0.20      $259.00
09/15/2023      SMK             Prepare outlines and exhibits re interviews of former                 4.80   $6,216.00
                                officers and current employees
09/15/2023      SMK             Exchange emails with A. Simonds re 2004 motion                        0.10      $129.50
09/16/2023      NM              Draft agenda and compile documents; exchange                          0.40      $350.00
                                correspondence re same
09/16/2023      SMK             Prepare outlines re interviews/depositions of audit                   3.50   $4,532.50
                                Committee members
09/17/2023      DMS             Exchange emails with S. Kidder and M. Tuchin re Mike                  0.30      $568.50
                                Rotokoski's deposition
09/17/2023      MLT             Exchange e-mail correspondence with S. Kidder and D.                  0.10      $189.50
                                Stern re interview and deposition issues
09/17/2023      MLT             Analyze withdrawal of Notice of Examination of Mike                   0.10   No Charge
                                Rytokoski; analyze correspondence from S. Kidder and J.
                                O'Neill re same
09/17/2023      SMK             Prepare notice of withdrawal of Rytokoski examination and             0.20      $259.00
                                email J. O'Neill re same
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2483    Amyris, Inc., et al.                                                                                   Page 17
0000    Amyris, Inc., et al.                                                                              Bill #. 20852
Date           Init            Description                                                     Hours          Amount
       Interviews and Depositions
09/17/2023 SMK          Exchange emails with M. Tuchin, D. Stern, and M.                           0.20      $259.00
                        Rytokoski re upcoming interview
09/17/2023     SMK             Prepare outlines and documents for upcoming interviews              1.80   $2,331.00
09/18/2023     ATS             Exchange emails with S. Kidder and J. O'Neill re 2004               0.20      $265.00
                               motion
09/18/2023     MLT             Exchange e-mail correspondence with D. Stern and S.                 0.10      $189.50
                               Kidder re scope of investigation
09/18/2023     MLT             Analyze correspondence re interviews (F. Merola, S.                 0.10   No Charge
                               Kidder)
09/18/2023     NM              Interview of F. Kung                                                2.00   $1,750.00
09/18/2023     NM              Prepare for interview of F. Kung                                    0.40      $350.00
09/18/2023     SMK             Interview F. Kung via Zoom                                          2.00   $2,590.00
09/18/2023     SMK             Prepare for F. Kung interview                                       1.30   $1,683.50
09/18/2023     SMK             Prepare for Rytokoski interview                                     0.90   $1,165.50
09/18/2023     SMK             Prepare for audit Committee member interviews, including            0.70      $906.50
                               drafting outline re same
09/18/2023     SMK             Exchange emails with A. Simonds re 2004 motion                      0.20      $259.00
09/18/2023     SMK             Exchange emails with D. Stern, M. Tuchin re Rytokoski               0.10      $129.50
                               interview
09/18/2023     SMK             Email J. Fisher (Goodwin) re interviews                             0.10      $129.50
09/18/2023     SMK             Exchange emails with E. Dreyer re investigation and                 0.10      $129.50
                               interview
09/18/2023     SMK             Email N. Kelsey re interview                                        0.10      $129.50
09/19/2023     MLT             Exchange e-mail correspondence re Rytokoski deposition              0.20      $379.00
                               (S. Gorman, F. Merola, and N. Maoz)
09/19/2023     MLT             Analyze summary of interview of Frank Kung                          0.20      $379.00
09/19/2023     NM              Interview of M. Rytokoski                                           3.30   $2,887.50
09/19/2023     NM              Prepare for interview of M. Rytokoski                               0.70      $612.50
09/19/2023     NM              Send correspondence re interviews and related topics and            0.30      $262.50
                               documents
09/19/2023     SMG             Analysis of memo to F. Reiss re F. Kung interview                   0.20      $220.00
09/19/2023     SMK             Interview M. Rytokoski (vai Zoom)                                   3.30   $4,273.50
09/19/2023     SMK             Call with M Dorf re investigation and interviews                    0.50      $647.50
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2483     Amyris, Inc., et al.                                                                                     Page 18
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                       Hours          Amount
       Interviews and Depositions
09/19/2023 SMK          Final preparation for Rytokoski interview                                     0.60      $777.00
09/19/2023      SMK             Prepare outline and exhibits re Pollack and Johnson                   2.60   $3,367.00
                                interviews
09/19/2023      SMK             Analyze and respond to F. Marelo email re depositions and             0.10      $129.50
                                investigation status
09/20/2023      MLT             Analyze memo to F. Reiss re interview of Mike Rytokoski               0.20      $379.00
09/20/2023      MLT             Analyze correspondence re interviews from S. Kidder                   0.10   No Charge
09/20/2023      NM              Revise C. Johnson interview outline                                   0.30      $262.50
09/20/2023      NM              Prepare for interviews of N. Pollack and C. Johnson                   0.50      $437.50
09/20/2023      NM              Interview of N. Pollack                                               2.00   $1,750.00
09/20/2023      NM              Interview of C. Johnson                                               1.00      $875.00
09/20/2023      SMK             Interview N. Pollack                                                  2.00   $2,590.00
09/20/2023      SMK             Interview C. Johnson                                                  1.00   $1,295.00
09/20/2023      SMK             Prepare for Pollack and Johnson interviews                            0.40      $518.00
09/20/2023      SMK             Prepare for Dutra interview                                           0.90   $1,165.50
09/20/2023      SMK             Exchange emails with D. Choi and Cahill Gordon re                     0.20      $259.00
                                interview of J. McCann
09/20/2023      SMK             Exchange emails with S. Tan re interviews of current                  0.20      $259.00
                                employees/officers
09/20/2023      SMK             Exchange emails with N. Maoz re additional interview                  0.20      $259.00
                                topics
09/20/2023      SMK             Exchange emails with counsel for Doerr and Panchadsaram               0.20      $259.00
                                re interviews
09/21/2023      NM              Interview of A. Dutra                                                 1.60   $1,400.00
09/21/2023      NM              Prepare for interview of A. Dutra                                     0.50      $437.50
09/21/2023      SMK             Interview (via Zoom) A. Dutra                                         1.60   $2,072.00
09/21/2023      SMK             Exchange emails with E. Dreyer re interview                           0.20      $259.00
09/21/2023      SMK             Prepare for interviews re accounting-related topics                   0.80   $1,036.00
09/21/2023      SMK             Prepare for G. Duyk interview                                         1.40   $1,813.00
09/22/2023      NM              Prepare for Duyk interview                                            0.50      $437.50
09/22/2023      NM              Interview of G. Duyk                                                  3.90   $3,412.50
09/22/2023      SMK             Interview (via Zoom) G. Duyk                                          3.90   $5,050.50
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2483     Amyris, Inc., et al.                                                                                     Page 19
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                       Hours          Amount
       Interviews and Depositions
09/22/2023 SMK          Exchange emails with S. Tan re Alvarez interview                              0.10      $129.50
09/22/2023      SMK             Prepare outline and exhibits for J. Washington interview              0.90   $1,165.50
09/23/2023      MLT             Analyze memo summarizing interview of Julie Washington                0.30      $568.50
09/23/2023      NM              Prepare for J. Washington interview                                   0.30      $262.50
09/23/2023      NM              Interview of J. Washington                                            3.30   $2,887.50
09/23/2023      SMK             Interview (via Zoom) with J. Washington                               3.30   $4,273.50
09/23/2023      SMK             Exchange emails with J. McCann counsel re interview                   0.20      $259.00
09/23/2023      SMK             Exchange emails with S. Mills re interview                            0.10      $129.50
09/24/2023      DMS             Review memo to F. Reiss re J. Washington interview memo               0.40      $758.00
09/24/2023      DMS             Review memo to F. Reiss re G. Duyk interview memo                     0.50      $947.50
09/24/2023      DMS             Review memo to F. Reiss re C. Johnson interview memo                  0.20      $379.00
09/24/2023      DMS             Review memo to F. Reiss re N. Pollack interview memo                  0.40      $758.00
09/24/2023      DMS             Review memo to F. Reiss re M. Rytokoski interview memo                0.50      $947.50
09/24/2023      DMS             Review memo to F. Reiss re F. Kung interview memo                     0.40      $758.00
09/24/2023      DMS             Draft memo to synthesize conclusions from initial                     0.50      $947.50
                                interviews
09/24/2023      MLT             Exchange e-mail correspondence with D. Stern re analysis              0.10      $189.50
                                of interviews
09/24/2023      SMK             Exchange emails with N. Maoz re Alvarez interview outline             0.20   No Charge
09/25/2023      SMG             Analysis of memo re G. Duyk and J. Washington interviews              0.50      $550.00
09/25/2023      SMK             Prepare outline and exhibits for Alvarez interview                    2.30   $2,978.50
09/25/2023      SMK             Prepare for Kieftenbeld interview                                     0.40      $518.00
09/25/2023      SMK             Exchange emails with E. Dreyer re interview                           0.10      $129.50
09/26/2023      NM              Prepare for S. Mills interview                                        0.20      $175.00
09/26/2023      NM              Interview of S. Mills                                                 4.00   $3,500.00
09/26/2023      NM              Prepare for C. Ofori interview                                        0.90      $787.50
09/26/2023      SMK             Interview (via Zoom) with S. Mills                                    4.00   $5,180.00
09/26/2023      SMK             Exchange emails with Cahill Gordon (J. McCann counsel)                0.10      $129.50
                                re interview
09/26/2023      SMK             Prepare outline and exhibits re interviews of Qi and Alvarez          2.20   $2,849.00
09/26/2023      SMK             Analyze and revise draft outline re Ofori interview                   0.30      $388.50
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2483    Amyris, Inc., et al.                                                                                    Page 20
0000    Amyris, Inc., et al.                                                                               Bill #. 20852
Date           Init            Description                                                      Hours          Amount
       Interviews and Depositions
09/27/2023 MLT          Analyze memo re Steve Mills interview and prepare notes                     0.40      $758.00
                        re same
09/27/2023     MLT             Analyze correspondence re interview from S. Kidder                   0.10   No Charge
09/27/2023     NM              Interview of C. Ofori                                                1.50   $1,312.50
09/27/2023     NM              Interview of E. Alvarez                                              3.90   $3,412.50
09/27/2023     NM              Prepare for C. Ofori interview                                       0.30      $262.50
09/27/2023     SMG             Review memo re S. Mills interview                                    0.30      $330.00
09/27/2023     SMK             Interview (via Zoom) L. Qi                                           2.00   $2,590.00
09/27/2023     SMK             Interview (via Zoom) E. Alvarez                                      3.90   $5,050.50
09/27/2023     SMK             Prepare outline and exhibits re upcoming interviews                  1.20   $1,554.00
09/27/2023     SMK             Exchange emails with N. Maoz and Lavvan counsel re                   0.20      $259.00
                               attendance at Kieftenbeld and Doerr depositions
09/27/2023     SMK             Exchange emails with H. Kieftenbeld counsel re interview             0.20      $259.00
09/28/2023     MLT             Analyze interview summaries (Qi, Ofori, and Alvarez); and            0.70   $1,326.50
                               prepare notes re same
09/28/2023     MLT             Analyze correspondence re deposition scheduling from N.              0.10   No Charge
                               Kelsey and S. Kidder
09/28/2023     NM              Videconference with L. Modugno re H. Kieftenbeld                     0.20   No Charge
                               interview
09/28/2023     SMK             Prepare outlines and exhibits for upcoming interviews                3.10   $4,014.50
09/28/2023     SMK             Call with L. Modugno re Kieftenbeld interview                        0.20      $259.00
09/28/2023     SMK             Exchange emails with L. Modugno re Kieftenbeld interview             0.10      $129.50
09/28/2023     SMK             Exchange emails with Lavvan counsel (R. Silberglied) and             0.20   No Charge
                               D. Grassgreen re access to DIP-related depositions
09/29/2023     DMS             Review memo to F. Reiss re C. Ofori interview memo                   0.40      $758.00
09/29/2023     DMS             Review memo to F. Reiss re L. Qi interview memo                      0.30      $568.50
09/29/2023     DMS             Review memo to F. Reiss re E. Alvarez interview memo                 0.50      $947.50
09/29/2023     NM              Revise interview outlines                                            0.20      $175.00
09/29/2023     NM              Attend deposition of H. Kieftenbeld (1/2 billed)                     3.50   $3,062.50
09/29/2023     NM              Attend deposition of H. Kieftenbeld (1/2 unbilled)                   3.50   No Charge
09/29/2023     SMK             Draft interview outlines and compile exhibits, including re          3.60   $4,662.00
                               Dreyer interview
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2483     Amyris, Inc., et al.                                                                                     Page 21
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                       Hours          Amount
       Interviews and Depositions
09/30/2023 DMS          Review memo to F. Reiss re S. Mills interview memo                            0.40      $758.00
       Interviews and Depositions                                                                191.30 $225,048.00
       Drafting of Report/Summary of Investigation (Includes Legal
       Research)
09/01/2023 DMS           Legal analysis of new cases on standard of liability for                     1.40   $2,653.00
                         officers and directors
09/02/2023      DMS             Analysis of pleadings in Furniture Factory case (motions to           2.30   $4,358.50
                                dismiss) re standard of liability
09/02/2023      SMK             Exchange emails with D. Stern, T. Frei, and N. Maoz re                0.50      $647.50
                                legal analysis section of report, including review of case
                                law re same
09/02/2023      TF              Analyze Furniture Factory opinion re standard of liability            1.50   $1,650.00
09/03/2023      DMS             Analyze pleadings in Furniture Factory case (oppositions to           1.30   $2,463.50
                                motions to dismiss) re standard of liability
09/03/2023      DMS             Create template for Independent Director report                       1.90   $3,600.50
09/03/2023      TF              Analyze Furniture Factory motions to dismiss re standard of           1.70   $1,870.00
                                liability
09/04/2023      DMS             Analyze reply pleadings in Furniture Factory case and                 1.60   $3,032.00
                                review opinion again re standard of liability
09/04/2023      DMS             Revise and circulate report template outline                          1.90   $3,600.50
09/04/2023      NM              Analysis of fiduciary duty case law                                   1.00      $875.00
09/04/2023      SMK             Analyze D. Stern draft outline re investigative report                0.30      $388.50
09/04/2023      SMK             Exchange emails with D. Stern and T. Frei re applicable               0.20      $259.00
                                legal standards
09/04/2023      TF              Review Furniture Factory oppositions to motions to dismiss            3.50   $3,850.00
                                and replies to motions to dismiss and compile Furniture
                                Factory notes re standard of liability
09/05/2023      NM              Draft legal insert re duty of care                                    0.80      $700.00
09/05/2023      TF              Draft legal insert re duty of care                                    1.50   $1,650.00
09/06/2023      TF              Draft executive summary portion of fiduciary duties memo              2.00   $2,200.00
09/06/2023      TF              Review Delaware case law re oversight liability                       0.60      $660.00
09/07/2023      MLT             Revise template for report                                            0.40      $758.00
09/07/2023      SMK             Exchange emails with T. Frei and N. Maoz re legal research            0.20      $259.00
                                issues in connection with report
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2483     Amyris, Inc., et al.                                                                                    Page 22
0000     Amyris, Inc., et al.                                                                               Bill #. 20852
Date            Init            Description                                                      Hours          Amount
       Drafting of Report/Summary of Investigation (Includes Legal
       Research)
09/07/2023 TF            Continue drafting duty of care portion of memo legal insert,                3.20   $3,520.00
                         including business judgment rule section
09/08/2023      SMG             Research re indemnification issues                                   4.90   $5,390.00
09/08/2023      SMK             Exchange emails with T. Frei, S. Gurvitz, and N. Maoz re             0.30      $388.50
                                legal research on officer/director liability issues
09/08/2023      TF              Draft business judgment rule and exculpatory provisions              4.10   $4,510.00
                                portions of memo legal insert
09/11/2023      SMG             Research re indemnification issues                                   4.80   $5,280.00
09/11/2023      SMG             Analysis of indemnification agreements and bylaws                    1.40   $1,540.00
09/11/2023      SMK             Analysis re legal standards applicable to claims against             0.50      $647.50
                                officers
09/11/2023      TF              Draft duty of loyalty and oversight liability portions of            4.30   $4,730.00
                                memo legal insert
09/11/2023      TF              Revise memo legal insert                                             1.60   $1,760.00
09/12/2023      NM              Review and revise memo from T. Frei re fiduciary duties              0.80      $700.00
09/12/2023      SMG             Research re memo re indemnification issues                           4.50   $4,950.00
09/12/2023      SMG             Prepare memo re indemnification issues                               2.80   $3,080.00
09/12/2023      SMK             Analyze T. Frei legal memorandum on director duties and              0.90   $1,165.50
                                provide comments re same
09/12/2023      TF              Revise memo legal insert                                             0.70      $770.00
09/13/2023      SMG             Research re indemnification issues                                   5.70   $6,270.00
09/13/2023      SMG             Prepare memo re indemnification issues                               2.50   $2,750.00
09/13/2023      TF              Research for and drafting of entire fairness and enhanced            5.50   $6,050.00
                                scrutiny standards portions of legal insert for memo
09/13/2023      TF              Begin review of memorandum re indemnification                        0.40      $440.00
09/14/2023      SMG             Research re indemnification issues                                   4.50   $4,950.00
09/14/2023      SMG             Prepare memo re indemnification issues                               3.40   $3,740.00
09/14/2023      SMG             Prepare initial draft of report                                      0.90      $990.00
09/14/2023      SMK             Exchange emails with S. Gurvitz and T. Frei re legal                 0.20      $259.00
                                standards applicable to directors and officers
09/14/2023      TF              Research re application of business judgment rule and                2.40   $2,640.00
                                oversight liability to officers
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2483     Amyris, Inc., et al.                                                                                     Page 23
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                       Hours          Amount
       Drafting of Report/Summary of Investigation (Includes Legal
       Research)
09/14/2023 TF            Update legal insert to address application of business                       3.00   $3,300.00
                         judgment rule and oversight liabilty to officers
09/15/2023      SMG             Review draft memo re fiduciary duties (2 versions)                    1.20   $1,320.00
09/15/2023      SMG             Revise memo re indemnification issues                                 2.40   $2,640.00
09/15/2023      SMG             Prepare initial draft of report                                       2.40   $2,640.00
09/15/2023      SMG             Supplemental research re fiduciary duties sub-issues                  2.90   $3,190.00
09/15/2023      TF              Review draft of indemnification memo                                  1.60   $1,760.00
09/15/2023      TF              Research re indemnification under DGCL                                1.30   $1,430.00
09/15/2023      TF              Finalize draft of memo legal insert                                   2.40   $2,640.00
09/18/2023      NM              Confer with S. Gurvitz re legal research and report                   0.20      $175.00
09/18/2023      NM              Confer with S. Gurvitz re report organization and issues              0.20      $175.00
09/18/2023      SMG             Confer with N. Maoz re report organization and issues                 0.20      $220.00
09/18/2023      SMG             Prepare memo re indemnification and advancement issues                4.40   $4,840.00
09/18/2023      SMG             Additional research re indemnification and advancement                2.90   $3,190.00
                                issues
09/18/2023      SMK             Draft issues list re legal research in connection with report         0.50      $647.50
09/19/2023      SMG             Finish drafting memo re indemnification and advancement               2.60   $2,860.00
                                issues
09/19/2023      SMG             Revise memo re fiduciary duties issues                                2.90   $3,190.00
09/19/2023      SMG             Review outline of topics for further research                         0.20      $220.00
09/19/2023      SMG             Prepare outline of factual issues for report                          2.00   $2,200.00
09/19/2023      SMK             Analyze S. Gurvitz memo re legal issues in connection with            0.50      $647.50
                                D&O liability
09/19/2023      TF              Review draft indemnification memo                                     0.30      $330.00
09/20/2023      NM              Analyze memo from S. Gurvitz re indemnification issues;               2.30   $2,012.50
                                research re same
09/20/2023      SMG             Revise fiduciary duty memo                                            6.80   $7,480.00
09/21/2023      NM              Analyze D. Stern email and attachment re Judge Horan                  0.30      $262.50
                                decision pertinent to investigation
09/21/2023      NM              Revise legal issues list                                              0.20      $175.00
09/21/2023      SMG             Additional research re fiduciary duties issues                        2.60   $2,860.00
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2483     Amyris, Inc., et al.                                                                                     Page 24
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                       Hours          Amount
       Drafting of Report/Summary of Investigation (Includes Legal
       Research)
09/21/2023 SMG           Prepare memo re fiduciary duties                                             4.80   $5,280.00
09/21/2023      SMK             Legal research re standards applicable to potential claims            1.60   $2,072.00
                                against D&Os
09/21/2023      SMK             Analyze D. Stern email and attachment re Judge Horan                  0.30      $388.50
                                decision pertinent to investigation
09/22/2023      DMS             Legal research re lists of issues involved in equitable               0.70   $1,326.50
                                subordination, recharacterization and equitable
                                disallowance
09/22/2023      SMG             Initial research re duty of diligent review                           2.30   $2,530.00
09/22/2023      SMG             Initial research re duty to inform                                    1.60   $1,760.00
09/22/2023      SMG             Prepare memo re fiduciary duties                                      1.50   $1,650.00
09/24/2023      NM              Review correspondence from D. Stern, S. Kidder, and M.                0.30      $262.50
                                Tuchin re claim analysis
09/24/2023      SMK             Exchange emails with M. Tuchin and D. Stern re                        0.30      $388.50
                                investigation report
09/25/2023      MLT             Analyze research results re director liability                        0.90   $1,705.50
09/25/2023      SMG             Review memo from D. Stern re governance issues and                    0.30      $330.00
                                correspondence with D. Stern and S. Kidder related thereto
09/25/2023      SMG             Additional research re Caremark claims                                4.50   $4,950.00
09/25/2023      SMG             Initial research re delegation to Committees                          2.60   $2,860.00
09/25/2023      SMK             Exchange emails with M. Tuchin, D. Stern re issues to                 0.20      $259.00
                                address in report
09/26/2023      DMS             Draft memo on research issues relating to audit committee             0.40      $758.00
                                vetting transactions and necessary follow up
09/26/2023      MLT             Confer with N. Maoz re analysis of director and officer               0.30   No Charge
                                conduct
09/26/2023      NM              Confer with M. Tuchin re analysis of officer and director             0.30   No Charge
                                conduct
09/26/2023      SMG             Review and revise revised draft of outline of research issues         0.20   No Charge
                                for report
09/26/2023      SMG             Prepare memo re fiduciary duties                                      6.30   $6,930.00
09/26/2023      SMG             Additional research re agency theory of liability                     2.10   $2,310.00
09/26/2023      SMG             Additional research re fraud theory of liability                      1.80   $1,980.00
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2483     Amyris, Inc., et al.                                                                                    Page 25
0000     Amyris, Inc., et al.                                                                               Bill #. 20852
Date            Init            Description                                                      Hours          Amount
       Drafting of Report/Summary of Investigation (Includes Legal
       Research)
09/26/2023 SMG           Review and respond to outline of additional research                        0.30      $330.00
                         questions
09/26/2023      SMK             Update legal issues/research list re report                          0.10      $129.50
09/26/2023      SMK             Analyze and respond to D. Stern and M. Tuchin emails re              0.20      $259.00
                                legal issues in connection with report
09/26/2023      TF              Review revised draft of fiduciary duties memo                        0.50      $550.00
09/27/2023      MLT             Exchange e-mail correspondence with D. Stern re analysis             0.10      $189.50
                                of officer and director conduct
09/27/2023      SMG             Review declaration of S. Fleming in connection with                  0.30      $330.00
                                preparation of background section of report
09/27/2023      SMG             Review declaration of H. Kieftenbeld in connection with              1.20   $1,320.00
                                preparation of background section of report
09/27/2023      SMG             Prepare outline re background section of report                      1.20   $1,320.00
09/27/2023      SMG             Review Audit Committee charter and research re function              2.20   $2,420.00
                                of audit committee
09/27/2023      SMG             Prepare fiduciary duty memo                                          1.60   $1,760.00
09/28/2023      DMS             Meeting with M. Tuchin, S. Kidder, S. Gurvitz, T. Frei, and          0.90   $1,705.50
                                N. Maoz re report on investigation (including key legal
                                issues)
09/28/2023      MLT             Analyze research results re duties of, and protection for,           0.90   $1,705.50
                                officers and directors
09/28/2023      MLT             Confer with D. Stern, S. Gurvitz, S. Kidder, T. Frei and N.          0.50      $947.50
                                Maoz re drafting of report (partial participation)
09/28/2023      NM              Conference with M. Tuchin, D. Stern, S. Gurvitz, S. Kidder,          0.50      $437.50
                                and T. Frei re drafting of report (partial attendance)
09/28/2023      SMG             Meeting with D. Stern, S. Kidder, N. Maoz, T. Frei, and M.           0.90      $990.00
                                Tuchin re report, including key legal issues
09/28/2023      SMG             Prepare fiduciary duty memo                                          2.30   $2,530.00
09/28/2023      SMG             Additional research re good faith and bad faith standard             5.30   $5,830.00
09/28/2023      SMK             Confer with M. Tuchin, D. Stern, T. Frei, S. Gurvitz, and N.         0.90   $1,165.50
                                Maoz re report on investigation, including legal issues
09/28/2023      SMK             Analyze case law re director and officer fiduciary duty              0.40      $518.00
                                standards
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2483     Amyris, Inc., et al.                                                                                     Page 26
0000     Amyris, Inc., et al.                                                                                Bill #. 20852
Date            Init            Description                                                       Hours          Amount
       Drafting of Report/Summary of Investigation (Includes Legal
       Research)
09/28/2023 TF            Meeting with D. Stern, M. Tuchin, S, Kidder, S. Gurvitz,                     0.90      $990.00
                         and N. Maoz re report on investigation, including key legal
                         issues
09/28/2023      TF              Attention to fiduciary duties standards memo                          1.50   $1,650.00
09/29/2023      DMS             Draft memo on issues re lender liability, equitable                   0.70   $1,326.50
                                subordination and recharacterization
09/29/2023      MLT             Exchange e-mail correspondence with D. Stern re lenders'              0.30      $568.50
                                claims
09/29/2023      SMG             Prepare report background section                                     3.10   $3,410.00
09/29/2023      SMG             Prepare outline report legal standard section                         2.40   $2,640.00
09/29/2023      SMG             Prepare report legal standard section                                 4.80   $5,280.00
09/29/2023      SMK             Analyze and comment on S. Gurvitz draft memo re                       1.10   $1,424.50
                                fiduciary duty standards and related issues
09/29/2023      TF              Email correspondence with S. Kidder and S. Gurvitz re                 0.50   No Charge
                                independent director standard
09/29/2023      TF              Review and revise draft fiduciary duties memo                         0.90      $990.00
09/30/2023      SMG             Additional research re fiduciary duties in particular fact            3.80   $4,180.00
                                patterns
       Drafting of Report/Summary of Investigation (Includes Legal Research)                     204.80 $237,038.00
       Review of Pleadings Filed in Case
09/06/2023 DMS          Review Lavvan DIP objection                                                   0.40   No Charge
09/06/2023      NM              Review Lavvan DIP objection; correspondence re same                   0.30   No Charge
09/06/2023      TF              Review Lavvan DIP objection                                           0.30   No Charge
09/07/2023      DMS             Review docket and appearance by M. Rytokoski                          0.20   No Charge
09/07/2023      SMK             Review pleadings re ad hoc reimbursement motion in                    0.30   No Charge
                                advance of hearing
09/13/2023      SMK             Analyze statemetns re DIP motion filed by official                    0.30   No Charge
                                Committee and cross-holder group
       Review of Pleadings Filed in Case                                                              1.80         $0.00
       Court Attendance
09/07/2023 SMK          Attend (via Zoom) hearing on ad hoc reimbursement                             0.50   No Charge
                        motion
09/14/2023      NM              Attend (virtually) hearing on DIP                                     2.70   No Charge
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2483     Amyris, Inc., et al.                                                                                   Page 27
0000     Amyris, Inc., et al.                                                                              Bill #. 20852
Date            Init            Description                                                     Hours          Amount
       Court Attendance
09/15/2023 NM           Attend status hearing on DIP                                                0.80      $700.00
09/18/2023      NM              Attend 341(a) meeting                                               0.50      $437.50
       Court Attendance                                                                             4.50   $1,137.50
       Fee/Employment Applications
09/01/2023 NM          Review as-filed supplemental declaration                                     0.10   No Charge
09/01/2023      SMK             Analyze email from J. O'Neill re supplemental declaration           0.10      $129.50
                                in support of KTBS employment application
09/06/2023      NM              Revise August pre-bill                                              1.00   No Charge
09/06/2023      SMK             Email J. O'Neill re response to committee's proposed                0.10      $129.50
                                revisions to KTBS employment order
09/07/2023      SMK             Exchange emails with J. O'Neill re certification of counsel         0.10      $129.50
                                re KTBS employment application
09/08/2023      NM              Exchange correspondence with J. O'Neill re COC                      0.10       $87.50
09/08/2023      SMK             Exchange emails with J. O'Neill re CoC for KTBS                     0.10      $129.50
                                employment application
09/18/2023      SDP             Prepare first monthly fee application                               2.70   $1,606.50
09/20/2023      SMK             Analyze draft monthly fee statement and email N. Maoz re            0.20      $259.00
                                same
09/21/2023      NM              Draft monthly fee application                                       0.40      $350.00
09/21/2023      SMK             Analyze and revise draft first monthly fee statement                0.50      $647.50
09/26/2023      SDP             Prepare notice of first monthly fee application                     0.20      $119.00
09/26/2023      SDP             Exchange emails with P. Jefferies re notice of first monthly        0.10   No Charge
                                fee application
09/26/2023      SMK             Review draft notice of monthly fee app                              0.10   No Charge
       Fee/Employment Applications                                                                  5.80   $3,587.50
Professional Services Rendered                                                                 551.50 $638,371.00

Costs and Disbursements
       Online research
              Lexis - September 2023                                                                       $5,733.99
              Westlaw - September 2023                                                                     $2,590.43
              Pacer - September 2023                                                                          $45.70
                                                                                                           $8,370.12
       Delivery services/messengers
              Fed-Ex Delivery to M. Rytokoski                                                                  $28.97
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0000     Amyris, Inc., et al.                                                                    Bill #. 20852
Costs and Disbursements
       Delivery services/messengers
              Fed-Ex Delivery to N. Kelsey                                                           $23.41
              Fed-Ex Delivery to J. Melo                                                             $23.41
                                                                                                     $75.79
       Postage
              Postage - September 2023                                                                 $0.63
                                                                                                       $0.63


Total Costs and Disbursements                                                                    $8,446.54



                Total fees and expenses incurred                                   $646,817.54
                Balance forward as of last invoice                $199,533.80
                Net balance forward                                                $199,533.80
                Balance Now Due                                                    $846,351.34



                                             Timekeeper Summary
Name                                                                       Hours          Rate       Amount
Frei, Tanner                                                                4.00            $0  No Charge
Frei, Tanner                                                               62.70     $1,100.00  $68,970.00
Gurvitz, Sasha M                                                            0.20            $0  No Charge
Gurvitz, Sasha M                                                          129.00     $1,100.00 $141,900.00
Kidder, Samuel M                                                            2.30            $0  No Charge
Kidder, Samuel M                                                          160.20     $1,295.00 $207,459.00
Maoz, Nir                                                                   8.60            $0  No Charge
Maoz, Nir                                                                 103.60       $875.00 $90,650.00
Pearson, Shanda D.                                                          0.10            $0  No Charge
Pearson, Shanda D.                                                          2.90       $595.00   $1,725.50
Simonds, Ariella T.                                                         0.60            $0  No Charge
Simonds, Ariella T.                                                        12.40     $1,325.00  $16,430.00
Smith, Robert J.                                                            2.70            $0  No Charge
Stern, David M.                                                             0.90            $0  No Charge
Stern, David M.                                                            33.40     $1,895.00  $63,293.00
Tuchin, Michael L.                                                          2.60            $0  No Charge
Tuchin, Michael L.                                                         25.30     $1,895.00  $47,943.50
                                                                          551.50               $638,371.00
